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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

 CIVIL ACTION NO: 3:16-CV-00724-JHM

 TODD BONDS                                                               PLAINTIFF

 V.

 DANIEL OLDAKER, et al.                                                   DEFENDANTS

                                         JUDGMENT

        This matter having come before the Court on a dispositive motion filed by Defendants, and

 the Court having issued a Memorandum Opinion and Order on this date granting said motion,

        IT IS HEREBY ORDERED that judgment be entered in favor of Defendants consistent

 with the Court’s memorandum opinion and order and the Plaintiff’s complaint be dismissed with

 prejudice.




                                                                             March 1, 2019




 cc: counsel of record
     Todd Bonds, pro se
